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ATTORNEYS AT LAW

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VIDA NUEVA PARTNERS, LP

UNITED STATES BANKRUPTCY COURT, NORTHERN DISTRICT OF CALIFORNIA

In Re CASE NO.: 18-10727 RLE 7
(Chapter 7)

ART DANIELS,
[PROPOSED] ORDER AFTER HEARING
Debtor. GRANTING MOTION FOR ORDER
CONFIRMING THAT NO AUTOMATIC
STAY IS IN EFFECT

Date: November 5, 2018

Time: 11:00 a.m.

Location: 99 South E St., Santa Rosa, CA
Judge: Honorable Roger L. Efremsky

 

 

Moving Party VIDA NUEVA PARTNERS, LP’s Motion for Order Confirming That No
Automatic Stay Is In Effect came on for hearing on November 5, 2018 at 11:00 a.m., the Honorable
Roger L. Efremsky presiding. Attorney Michelle V. Zyromski appeared on behalf of Movant. No
appearance was made on behalf of Debtor.

UPON JUST CAUSE APPEARING IT IS ORDERED THAT:

1. Pursuant to 11 United States Code section 362(b)(22), no automatic stay is in effect.
The Movant may take any and all acts available to Movant under applicable law to regain
possession of the premises at 717 Rohnert Park Expressway, Rohnert Park, California 94928,
Sonoma County, that is owned by Movant, under Movant’s October 3, 2018 eviction Judgment for
Possession obtained in the Sonoma County Superior Court unlawful detainer case captioned Vida

Nueva Partners, LP y. Art Daniels, Sonoma County Superior Court Case No. MCV-246003.

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2. In addition to possession of the premises, Movant VIDA NUEVA PARTNERS, LP
may seek to recover post-petition damages and post-petition attorney’s fees and expenses as

provided by state law.

IT IS SO ORDERED.

Dated: November 5, 2018

By:

 

HONORABLE ROGER L. EFREMSKY
United States Bankruptcy Judge

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bP: 18-10727 [PROPOSEHIORDER BETERIHOARING CONFIRWANG THAD NG AUTEM IS BTA VAS ONERFEC

 

 
